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                          UNITED STATES DISTRICT COURT
                               DISTRICT OF MAINE


UNITED STATES OF AMERICA)
                        )
v.                      )                 1:19-cr-00007-JAW
                        )
DOUGLAS GORDON          )


DEFENDANT’S OPPOSITION TO THE GOVERNMENT’S MOTION IN LIMINE TO
   USE A SUMMARY CHART AS ADMISSIBLE EVIDENCE DURING TRIAL

       NOW COMES the Defendant, by and through undersigned counsel, and hereby

OPPOSES the Government’s Motion in Limine to use a summary chart as admissible

evidence during Trial. For the reasons stated below, and because the summary chart is

neither accurate nor reliable, and contains on its face, nearly one-hundred erroneous entries

and misleading entries, as well as the fact that no proper foundation has been laid, this

Honorable Court should deny the Government’s Motion and preclude admission of the

summary chart at trial.

I.     BACKGROUND

       The relevant background underlying this Opposition is found within the

Government’s Motion in Limine, which states, in pertinent part:

       In order to show the number of DVD copies of movies that were ordered
       from the three websites, the Government intends to offer in its case-in-chief
       a summary chart. See Govt. Exh. No. 1. The chart summarizes information
       obtained from approximately 23,080 emails automatically generated when
       customers made online orders with use of the Defendant’s
       www.findraredvds.com website. Spreadsheets provided by Weebly, the host
       of the Defendant’s www.lostmoviesfound.com website, contain
       approximately 18,436 lines of data likewise showing online orders made by
       customers for movie DVDs. Two Kunaki LLC accounts include more than
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       4,800 additional lines of data regarding customer orders made on his third
       website, www.lostmoviefinder.com. Since the number of e-mails and lines
       of data on the spreadsheets are voluminous, the Government is offering the
       attached summary chart pursuant to Federal Rule of Evidence 1006. During
       the case-in-chief, the chart will be introduced through the testimony of
       Special Agent Loren Thresher, the case agent who analyzed information and
       created the chart.

Gov’t Mot. In Limine at 2 (emphasis added and footnotes omitted).

II.    LEGAL STANDARD

       Fed. R. Evid. 1006 provides in relevant part “[t]he proponent may use a

summary, chart, or calculation to prove the contents of voluminous writings,

recordings, or photographs that cannot be conveniently examined in court.”

       There are five preconditions before admitting a summary chart pursuant to

Fed. R. Evid. 1006: 1) the documents must be so voluminous that they cannot

conveniently be examined in court; 2) the proponent of the summary chart must

have made the documents available for inspection and copying at a reasonable time

and place; 3) the proponent must establish that the underlying documents are

admissible in evidence; 4) the chart must be accurate and non-prejudicial; and 5) the

chart must be properly introduced before it is admitted into evidence. U.S. v. Bray,

139 F.3d 1104, 1109-1110 (6th Cir. 1998); see also United States v. Milkiewicz, 470

F.3d 390, 397-398 (1st Cir. 2006) (citing to Bray).

III.   ARGUMENT

       As a preliminary matter, the Defendant notes that solely for the purposes of

this Motion, he will solely focus on the fact that the chart is not accurate and is

prejudicial, and that there is insufficient testimony from the chart’s creator, Special

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Agent Thresher, for the Court to make a preliminary ruling on the chart’s

admissibility.

       A. The Summary Chart is Neither Accurate Nor Reliable, and
          Therefore, is Prejudicial to the Defendant.

       Turning Defendant’s first argument, the summary chart proffered by the

Government and labeled Gov’t Ex. 1, allegedly is created from e-mails

automatically generated when customers made online orders on three websites

allegedly linked to Defendant. When looking at the chart itself, however, the chart

lists the following titles that were not ordered from any of the websites:

       1. 29th Street 1991 DVD;
       2. A Cold Nights Death 1973 DVD;
       3. A Mom For Christmas 1990 DVD;
       4. A Muppet Family Christmas 1987 DVD;
       5. A Woman at War 1991 DVD;
       6. Abraham Lincoln 1930 DVD;
       7. Action an Anguar 1945 DVD;
       8. Africa Screams 1949 DVD;
       9. After the Beep 1998 DVD;
       10. Agent on Ice 1986 DVD;
       11. Alice’s Restaurant 1968 DVD;
       12. All the Kind Strangers 1974 DVD;
       13. Amerika 1987 DVD;
       14. Angel and the Badman 1947 DVD;
       15. At Play In the Fields of the Lord 1991 DVD;
       16. At War with the Army 1950 DVD;
       17. Attack of the Giant Leeches 1959 DVD;
       18. Bare Essentials 1991 DVD;
       19. Beauty and the Beast 1991 DVD;
       20. Becky Sharp 1935 DVD;
       21. Blind Man’s Bluff 1992 DVD;
       22. Blood Salvage 1990 DVD;
       23. Blue Monkey 1987 DVD;
       24. Breaking All the Rules 1985 DVD;
       25. Cage 1989 DVD;
       26. Cage II: The Arena of Death 1994 DVD;

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     27. Care of Game Animals: Field to Freezer DVD;
     28. Cocaine Blues 1983 DVD;
     29. Coldblooded 1995 DVD;
     30. Dark Night of the Scarecrow 1981 DVD;
     31. Day of the Beast 1995 DVD;
     32. Deadtime Stories 1986 DVD;
     33. Death Squad 1974 DVD;
     34. Dinosaur Island 1994 DVD;
     35. Dot and Keeto 1986 DVD;
     36. Dream Demon 1988 DVD;
     37. Fast Break 1979 DVD;
     38. Final Round 1993 DVD;
     39. FM 1978 DVD;
     40. Gentle Giant 1967 DVD;
     41. Grand Tour: Disaster in Time 1992;
     42. Grim Prairie Tales 1990 DVD;
     43. Halloween with the New Addams Family 1977 DVD;
     44. Happily Ever After 1990 DVD;
     45. Hollywood Hot Tubs 2: Educating Crystal 1990 DVD;
     46. Homewrecker 1992 DVD;
     47. Honeymoon Horror 1982 DVD;
     48. Hurricane 1937 DVD;
     49. I Bury the Living 1958 DVD;
     50. Journey Back to Oz 1975 DVD;
     51. Ketchup Vampires 2 1996 DVD;
     52. Laboratory 1980 DVD;
     53. Loving You 1957 DVD;
     54. Massacre at Central High 1976;
     55. Mission Stardust 1968 DVD;
     56. My Man Adam 1985 DVD;
     57. Night of the Living Dead 1968 DVD;
     58. No Retreat, No Surrender 1986;
     59. Orion’s Belt 1985 DVD;
     60. Out There 1995 DVD;
     61. Payback 1995 DVD;
     62. Pet Shop 1995 DVD;
     63. Photographing Fairies 1997 DVD;
     64. Poor Little Rich Girl: The Barbara Hutton Story 1987 DVD;
     65. Prom Night 1980;
     66. Robin of Locksley 1996 DVD;
     67. Rumpelstiltskin 1987 DVD;
     68. Saints and Sinners 1994 DVD;
     69. Snow Treasure 1968 DVD;

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       70. Strange America: Unclassified 2000 DVD;
       71. Stubby Pringle’s Christmas;
       72. Ted Bundy 2002 DVD;
       73. The Adventures of Timmy the Tooth 1995 DVD;
       74. The Amazing Mr X. 1948 DVD;
       75. The Animal Kingdom 1932 DVD;
       76. The Ann Jillian Story 1988 DVD;
       77. The Boyfriend School 1990 DVD;
       78. The Great Love Experiment 1983 DVD;
       79. The Hit List 1989 DVD;
       80. The Lightening Incident 191 DVD;
       81. The Little Shop of Horrors 1960 DVD;
       82. The Midnight Hour 1985 DVD;
       83. The Pope Must Diet 1991 DVD;
       84. The Rainmaker 1997 DVD;
       85. The Secretary 1995 DVD;
       86. The Stepford Wives 1975 DVD;
       87. Uptown Saturday Night 1974; and
       88. Warrior Queen 1987 DVD.

Of these 88 titles, at least three, according to the spreadsheet, were not listed on any

of the three websites:

       1. Halloween with the New Addams Family 1977 DVD;
       2. Ketchup Vampires 2 1996 DVD; and
       3. Stubby Pringle’s Christmas.

In addition, on pages eight and nine of the spreadsheet, the document lists titles that

were not listed on FindRareDVDS, as of February 11, 2015, LostMoviesFound, as

of January 30, 2017, or LostMovieFinder, as of January 23, 2019, however, the

spreadsheet indicates that many orders were placed for these movies. It is unclear,

and confusing, as to how these orders were placed if the movies were not listed on

the respective websites, and whether the purchases predated the dates listed on the

spreadsheet, February 11, 2015, January 30, 2017, and January 23, 2019. These

titles constitute and additional 21 titles to the 88 listed above.

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       As shown above, Defendant submits that the summary chart should not be

admitted into evidence, and rejected as inaccurate and unreliable, because it was

supposedly created from online orders, but contains 88 movies that were not

ordered; contains three titles that were not listed on any of the three websites; and

contains 21 titles that were not listed on any of the three websites but which had

many online orders. Accordingly, Defendant submits that he has identified well

over 100 inaccuracies and misleading and confusing statements with the

Government’s Exhibit 1. Therefore, the exhibit is neither accurate nor reliable, and

Defendant would be prejudiced by its admission. For these reasons, the Court

should deny the Government’s Motion in Limine.

       B. There is Insufficient Foundation or Testimony from Special Agent
          Thresher to Support Admission of the Summary Chart

       In light of the serious and fatal flaws in the Government’s Exhibit 1

mentioned above, and to the extent this Honorable Court is inclined to overlook over

one-hundred inaccuracies, errors, and misleading statements within the chart,

Defendant submits that is in improper for the chart to be admitted at this time,

because Special Agent Thresher has not yet provided foundational testimony to

support its admission and to explain his research, process, findings, and how the

chart itself was created. See Bray, 139 F.3d 1104, 110 (“In order to lay a proper

foundation for a summary, the proponent should present the testimony of the witness

who supervised its preparation.”).




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      The Government’s Motion seeks to sidestep this requirement by obtaining a

preliminary ruling on the chart’s admissibility, and this Court should deny

Defendant’s Motion or refrain from ruling on it until it has heard the foundational

testimony of Special Agent Thresher.



DATED:       August 16, 2019                    s/Stephen C. Smith
                                                Stephen C. Smith Bar No. 8720
                                                Attorney for Defendant
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                             CERTIFICATE OF SERVICE

      I, Stephen C. Smith, hereby certify that the foregoing Defendant’s Opposition to

Government’s Motion in Limine that Exhibits Qualify as Admissible Records under Rule

803 has been electronically sent to AUSA James M. Moore for the Office of the United

States District Attorney on this 16th day of August, 2019.

      James M. Moore, AUSA
      jim.moore@usdoj.gov

DATED: August 16, 2019                          s/Stephen C. Smith
                                                Stephen C. Smith Bar No. 8720
                                                Attorney for Defendant
                                                LIPMAN & KATZ




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